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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                    )
                                             )
               Plaintiff,                    )
                                             )
       v.                                    )              Case No.: 1:24-CR-00124-ACR
                                             )
BRANDON MACKIE,                              )
                                             )
               Defendant.                    )

                             DEFENDANT BRANDON MACKIE’S
                               SENTENCING MEMORANDUM

       Pursuant to 18 U.S.C. §3553, Brandon Mackie, through counsel, respectfully submits this

Sentencing Memorandum supporting a probationary sentence. Given Mr. Mackie’s history of

lawful conduct and the limited nature of his actions on January 6, 2020, a probationary sentence

satisfies the factors outlined in §3553(a). His exemplary behavior during pretrial release and the

absence of any evidence of organized or radicalized conduct further demonstrates his suitability

for probation. Although Mr. Mackie was present at the Capitol on January 6, 2020, he is unlikely

to reoffend and merits the Court’s consideration of a probationary sentence.

       The Circumstances of the Offense

       On December 19, 2020, following his apparent defeat in the 2020 presidential election,

then-President Donald Trump announced a “Save America” rally to protest the results. The rally,

scheduled for January 6, 2021, coincided with the congressional certification of President-Elect

Joe Biden as the 46th President of the United States. President Trump and his campaign promoted

the rally through mainstream social media platforms such as Twitter and Facebook, as well as

traditional media outlets.


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        Brandon Mackie closely followed the election through both traditional and social media.

Together with his brother, Nathan Mackie, he decided to attend the rally to support President

Trump and express concerns about the future of the nation under a Biden administration. The

pair hastily arranged travel plans, booked an Airbnb in the Washington, D.C., area, and agreed to

share costs with Daniel Hatcher, a third acquaintance and fellow Trump supporter. None of the

men arrived in Washington prepared for more than a two night stay to attend a nationally advertised

rally on the Ellipse.

        On January 6, 2021, several speakers addressed the rally attendees before President Trump

took the stage. By 12:30 p.m., even before President Trump concluded his remarks, some rally

attendees began migrating toward the Capitol, encouraged by the speeches and the rally’s overall

tone. At about 1:00 p.m., President Trump finished speaking. By then, many rally participants

had breached the Capitol’s outer barriers, leaving fencing and barricades in disarray as more

approached the Capitol grounds. By 2:13 p.m., the Capitol building itself was breached through

a broken window near the Senate Wing Doors, prompting the evacuation of members of Congress

and the Vice President.

        After the rally, Mr. Mackie and his brother joined a large group walking from the Ellipse

to the Capitol grounds. When they arrived, they encountered a chaotic scene. Mr. Mackie took

several photographs and ascended the northwest steps to the Upper Northwest Terrace of the

Capitol Building. There, the group spent approximately 30 minutes observing the situation and

interacting with other rally attendees.

        During this time, the group spoke with individuals exiting the Capitol through the Senate

Wing Doors. These individuals claimed that Capitol Police were neither verbally nor physically


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excluding protesters from the building’s hallways. Mr. Mackie also encountered a woman,

described as a “grandma,” who said Capitol Police were allowing people into that doorway area.

       At about 3:12 p.m., Mr. Mackie entered the Capitol through the same window that had

been broken an hour earlier by the first wave of rioters. A man sat on the ledge of the waist-high

window, calmly helping people as they entered the building. Once inside, Mr. Mackie took a

photograph of Mr. Hatcher. Every moment of Mr. Mackie’s time inside the Capitol was captured

on a single video surveillance camera. Brandon Mackie neither touched nor damaged any

property while inside the Capitol. Although the area is crowded with protesters, the surveillance

video clarifies that Mr. Mackie only remained inside the building for about two minutes. Entering

the window at 3:12 p.m. taking only a few steps while inside, then exiting via an immediately

adjacent doorway at 3:14 p.m. There is no violence, destruction of Capitol property, or aggressive

behavior by protestors or police visible on the video while Mr. Mackie remained inside. Shortly

after exiting the building, Mr. Mackie left the Capitol grounds entirely.

       On February 13, 2024, Mr. Mackie was arrested without incident by FBI agents at his home

in Weatherford, Texas. By that time FBI agents had approached both Mr. Hatcher (on January

13, 2021, and again on January 15, 2021) and Nathan Mackie (on September 28, 2021) for

interviews via telephone without making arrests of either man. No such interview was ever asked

of Brandon Mackie before his arrest in February 2024.

       The three men were charged via sealed criminal complaint on February 12, 2024, with four

misdemeanor offenses. (See Doc. 1). Mr. Mackie was released the same day of his arrest and

ordered to appear before Magistrate Judge Meriweather via VTC on February 27, 2024. An

Information was filed on March 11, 2024. (See Doc. 21). After discovery was completed, Mr.


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Mackie entered a plea of guilty to counts three and four via a plea agreement to this Court on July

1, 2024. (See Docs. 34 and 37). Mr. Mackie has admitted to his disorderly conduct and to

parading or demonstrating inside the Capitol building on January 6, 2020, pursuant that plea

agreement. Id.

       Counsel does not and should not minimize the events that occurred on January 6, 2020.

The Trump rally that turned into a riot, breaking through windows and doors at the U.S. Capitol,

injuring hundreds of law enforcement officers and protestors alike, and resulting in the deaths of

five individuals will forever be a stain on this Country’s history. However, Mr. Mackie’s role in

this event did not precipitate directly or in any visible way to any physical harm to the Capitol or

the people injured or killed. Respectfully, what counsel intends to describe is simply that Mr.

Mackie’s conduct, although an offense under the law, should not be conflated with the many other

instances of criminal conduct which occurred on that day.

       Characteristics of the Defendant

       Brandon Mackie is the devoted father of two boys. Mr. Mackie and his wife Jamie have

been together for fifteen years. Their relationship is strong and centered on the well-being of their

sons, B.M. age 10 and C.M. age 7. Their employment permits each of them to primarily work

from home to help care for their sons. Mr. Mackie’s parents live near Houston, Texas. He has

one brother and one sister, both of whom live in south Texas.

       Mr. Mackie’s eldest son, B.M., is a type 1 diabetic. Ongoing issues treating this condition

make childhood different for his son than it is for most kids. Treatment of the condition is

lifechanging for siblings and parents too. While both boys began their education in public

schools, the school was ill-equipped to monitor constant blood sugar testing required for B.M. to


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be safe. Because of this both boys transitioned to home schooling.

       To properly track their son’s glucose levels, tests must be administered by an adult multiple

times each day. Either Mr. Mackie or Jamie wakes several times each night to attend to B.M.’s

blood sugar monitoring. Sleepovers at friends’ homes are impossible due to these monitoring

requirements and bladder control issues associated with the disease. Play dates require either Mr.

Mackie or his wife to attend because very quickly low blood sugar can result in disorientation,

dizzy spells, and situations where B.M. may not be able to speak for himself despite being

knowledgeable about his own condition. In addition, B.M. uses an insulin pump. The pump

which must be replaced every three days and the blood sugar monitor every ten days. All of which

helps monitor blood sugar levels appropriately but require parenting skills, time, and attention over

and above the care for a typical 10-year-old boy.

       Jamie Mackie is a stay at home mom with an administrative assistant background. Mr.

Mackie is self-employed and operates Patriot Filter Service, a Texas company he runs after selling

a successful business of the same type in Denver, Colorado in 2022. His job flexibility lets him

be at home as needed to help Jamie and the boys. Mr. Mackie also tends to several small farm

animals to provide additional food for the family.

       The Applicable Statutory Range

       Disorderly Conduct in a Capitol Building or Grounds, in violation of 40 U.S.C.

§5104(e)(2)(D), and Parading, Demonstrating or Picketing in a Capitol Building, in violation of

40 U.S.C. §5104(d)(2)(G), each carry terms of imprisonment of up to six months, and/or a fine of

up to $5,000.00. Each count of conviction are class B misdemeanors, or “petty offenses” as

defined by 18 U.S.C. §§19 and 3559(a)(7). The United States Sentencing Guidelines (Guidelines)


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do not apply to class B misdemeanors. See U.S.S.G. §1B1.9. Additionally, pursuant to 18

U.S.C.§3583(b)(3), no term of supervised release is permitted when a sentencing court imposes a

term of imprisonment for a petty offense. A sentence of as many as five years probation is

permitted by statue.

       Because the Guidelines do not apply, the Court is guided only by 18 U.S.C. §3553(a) to

“impose a sentence that is sufficient, but not greater than necessary, to comply with the purposes

[of sentencing].” Those factors listed in §3553(a)(1) include both the nature and circumstances

of the offense and the history and characteristics of the defendant described above. Additionally,

the Court should examine the “need” for the sentence, by looking if and how incarceration would

“reflect the seriousness of the offense, promote respect for the law, and provide just punishment.”

Id. at (2)(A). The Court must determine how its sentence would “afford adequate deterrence…

protect the public… and provide correctional treatment in the most effective manner.” Id. at 2(B-

D). Finally, the Court must be mindful of the “kinds of sentences that are available,” “avoid

unwarranted sentence disparities,” and consider the “need to provide restitution.” Id. at (3), (6),

and (7).

       The Need for the Sentence Imposed

       Mr. Mackie performed well while on pretrial release. This, along with a lack of criminal

history is indicative of his respect for the law. He has been steadily employed and has dutifully

gone to all meetings with counsel, U.S. Probation, and the U.S. Attorney. During his introduction

to counsel, and in preparation for the direction of this litigation, Mr. Mackie never once expressed

any desire to put the government to burden on the issue. Instead, his sole concern was that his

actions on January 6 would not adversely affect his family or more importantly his two sons.


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       If the Court imposed a sentence of probation, the ends of justice would be addressed

without risk of Mr. Mackie’s support for his family being interrupted.           He has accepted

responsibility for his actions and has a lifetime of good conduct to indicate little risk of further

crimes while on supervision. Mr. Mackie is not in any need of educational or correctional

treatment. Counsel submits that any sentence of incarceration, when probation is authorized by

statute, will be greater than what is needed given his conduct and the extraordinary circumstances

that make up January 6 cases.

       Avoiding Unwarranted Sentence Disparities

       18 United States Code, §3553(a)(6) does not proscribe all disparities, only unwarranted

ones. Mr. Mackie’s employment, support for his family, lack of prior criminal conduct, together

with his good conduct while on pretrial release are each a basis for this Court to impose a

probationary sentence. These are factors that are indicative of his respect for the law and are not

present in every case before this Court. There should be no concern about unwarranted disparity

if a probationary sentence is imposed. Further, with a probationary sentence, the Court retains

full jurisdiction for both supervision in the community and a potential re-sentencing of Mr. Mackie

if his conduct while under supervision should fall below the Court’s expectations.

       Providing for Restitution

       Mr. Mackie stands ready to pay restitution pursuant to the plea agreement. He does ask

that the Court permit a schedule of payments of restitution to occur during the proposed term of

probation so as to not adversely affect the family finances.

                                         CONCLUSION

       The American system of justice, administered by the United States Courts, as directed by


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18 U.S.C. §3553(a) looks at every defendant, every offense, and every defendant’s actions

individually to arrive at a sentence that is sufficient but not greater than what is necessary for the

circumstances. See Kimbrough v. United States, 522 U.S. 85, 90 (2007); Gall v. United States,

552 U.S. 38 (2007). Mr. Mackie did not organize or incite the riot that occurred on January 6,

2020. He did not participate in the forceful breaching of the outer barricades or fencing on the

Capitol grounds. He came to Washinton D.C. with his brother and a hunting buddy. They were

not part of any militant group as is illustrated by his social media. He did not dress for combat or

assault, nor did he bring any weapons, flagpoles, signs, or bullhorns. Mr. Mackie did not touch,

much less damage any property while inside the building. He, at no time, assaulted or threatened

law enforcement or Capitol staffers, nor was he in an area where such assaults were occurring.

       Mr. Mackie’s offense conduct that day consisted of unlawfully assembling at the U.S.

Capitol grounds, foolishly climbing through an already breached Senate Wing hallway window,

only to take a few steps within fifteen feet of the doorway which he then immediately exited. Mr.

Mackie understands and accepts there must be some punishment for this conduct, but it must be

weighed against his lack of criminal history, his personal circumstances, and his individual actions

on that day.    Considering these and other §3553(a) sentencing factors, a one year term of

probation, restitution in the amount of $500.00, and 30 hours of community service is sufficient,

but not greater than necessary, to satisfy the purposes of sentencing.

                                       Respectfully submitted,

                                       s/ Jeffrey M. Byers
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                                CERTIFICATE OF SERVICE

       I certify that on December 2, 2024, I electronically sent the attached document to the Clerk
of Court using the ECF System for filing and transmittal of a Notice of Electronic filing to the
following ECF registrants: Rachel Freeh, Assistant United States Attorney.


                                      s/ Jeffrey M. Byers
                                      JEFFREY M. BYERS




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